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          PETITIONER’S MEMORANDUM OF POINTS AND AUTHORITIES
                 IN SUPPORT OF PETITION FOR INJUNCTION

                                   TABLE OF EXHIBITS


Exhibit                                      Description

          1. Administrative Record of Cases 06-CA-248017, 263791, and 269346

 1(a)      Transcript of Hearing

 1(b)      Joint Exhibits

 1(c)      General Counsel Exhibits

 1(d)      Charging Party Exhibits

 1(e)      Respondent Exhibits

 1(f)      Decision of Administrative Law Judge Geoffrey Carter

              2. Administrative Record of Cases 06-CA-263780 and 302624

 2(a)      Transcript of Hearing

 2(b)      Joint Exhibits

 2(c)      General Counsel Exhibits

 2(d)      Charging Party Exhibits

 2(e)      Respondent Exhibits

          3. Administrative Record of Cases 06-CA-259157, 268248, and 302602

 3(a)      Transcript of Hearing

 3(b)      Joint Exhibits

 3(c)      General Counsel Exhibits

 3(d)      Charging Party Exhibits
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Exhibit                                      Description

 3(e)      Respondent Exhibits

          4. Administrative Record of Cases 06-CA-269416, 302624, and 311141

 4(a)      Transcript of Hearing

 4(b)      Joint Exhibits

 4(c)      General Counsel Exhibits

 4(d)      Respondent Exhibits

 4(e)      Decision of Administrative Law Judge Geoffrey Carter

  5        Affidavit of Mailers President John Clark

  6        Affidavit of Advertisers President Donald McConnell

  7        Affidavit of NewsGuild President Zachary Tanner, dated June 27, 2023

  8        Affidavit of NewsGuild President Zachary Tanner, dated May 7, 2023

  9        Affidavit of Employee A

  10       Affidavit of Employee B

  11       Affidavit of Employee C

  12       Affidavit of Employee D, dated July 27, 2023

  13       Affidavit of Employee D, dated March 2, 2023

  14       Affidavit of Employee E

  15       Affidavit of Employee F

  16       Statement of Employee F

  17       Affidavit of Employee G

  18       Statement of Employee H
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Exhibit                                Description

  19      Statement of Employee I

  20      Statement of Employee J

  21      Statement of Employee K

  22      Statement of Employee L

  23      Statement of Employee M

  24      Statement of Employee N

  25      Statement of Employee O

  26      Statement of Employee P

  27      Affidavit of Employee Q
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Exhibits 1–4 omitted, see Petitioner’s Notice of Filing Administrative Transcripts
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EXHIBIT 5
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                                                                                                                                       Exhibit 5

                                                                                  PG Publishing Co., Inc. d/b/a Pittsburgh
                                                                                         Post-Gazette
                                                                                  Case 06-CA-268248

                                               Confidential Witness Affidavit

    I, John Clark, under the penalty of perjury, state as follows:




    I have been given assurances by an agent of the National Labor Relations Board (NLRB)
    that this Confidential Witness Affidavit will be considered a confidential law enforcement
    record by the NLRB and will not be disclosed unless it becomes necessary to produce this
    Confidential Witness Affidavit in connection with a formal proceeding.

    I reside at 5128 Azalea Drive, Pittsburgh PA 15236

    My cell phone number (including area code) is 412-651-5659

    My e-mail address is johnclarkjr@comcast.net

    I am employed by PG Publishing Co. d/b/a the Pittsburgh Post-Gazette

    located at 2201 Sweeny drive


              I have worked at the Pittsburgh Post-Gazette ("the Employer" ) since 1978. I have been

2   President of Mailers Local 22, CWA 14842 ("the Union" ) since summer 2022.

              The Union has six scheduled meetings per year. We basically have the same 5-4 people

4   at all of the meetings, it's mainly the officers. Attendance have never been very high. Three or

5   four years ago, the former president Steve and I tried to get other people involved, but that was

6   unsuccessful. Interest in the Union has dropped as the industry has declined over the past 10

7   years. Everyone in the Union has felt there was no reason to expect any positive developments

8   from the Employer since about 2017 —with print days being cut, we were just trying to hang on.


                                                                    Privacy Act Statement
    The NLRB is asking you for the information on this form on the authority of the National Labor Relations Act (NLRA), 29 U.S.C. tl 151 et seq.
    The principal use of the information is to assist the NLRB in processing representation and/or unfair labor practice cases and related proceedings

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    or litigation. The routine uses for the information are fully set forth in the Federal Register, 71 Fed. Reg. 74942-43 (Dec. 13, 2006).
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                                                                                                                                        or
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                                                                                                                                            Additional

                                                                                                                                              issue you
    you do not provide the information, the NLRB may refuse to continue processing an unfair labor practice or representation case, may
    a subpoena and seek enforcement of the subpoena in federal court.

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     Case 06-CA-268248


            Around July 2020, we had about 28 members in the Union, and I believe the vote to

 2   authorize a strike was 28-0. The NewsGuild had just been implemented on, and I believe the

 3   strike authorization was in support of them—they'e CWA and so are we. That action was never

4    taken, the Guild started working under the implementation. The finance unit might have been

 5   implemented on also around that time. We'e a production unit, so we were kind of waiting for

 6   the other shoe to drop and the Employer to implement on us. There was a lot of participation in

7    this strike vote because it felt like an urgent situation. Someone had to take a stand or else we

 8   were all going up working under impasse terms.

            Around September 30, 2022, our healthcare expired. We continued working until about

10   October 5 without healthcare, and then we went on strike and have been out since then. We took

11   our strike authorization vote about two weeks before we went on strike, at that point we were

12   down to 19 members (voluntary resignations), and the strike vote was 6-1. The vote turnout was

13   low because participation in the Union has been decreasing generally over the past few years—

14   people don't feel like there's much left for us at the Employer. I don't know if anyone would go

15   back to work if we got an offer to return —maybe only five.

16          Since the beginning of the strike, two of our members retired and one took disability, so

17   we now have 16 members, 11 full time and 5 parttime employees. Three of us will be 65 this

18   year, and I know that a few of the others have taken fulltime jobs elsewhere.

19          No one has resigned from the Union since the beginning of the strike. People show up on

20   the picket line, even the people who are working elsewhere put a few hours on the line every

21   week. We'e gotten less stringent about that, people have bills to pay. We are no longer

22   collecting dues. Nobody has crossed the picket line, but there hasn't really been an opportunity

23   to. They haven't offered mailer work to anyone that's on strike. People don't blame the Union




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1    for this situation. I think it is amazing that people have kept their cool with this as long as they

2    have.

              I went a month without healthcare before I bought my own, and my wife got on her plan

4    from work. This was my first time without healthcare coverage in my life. Especially being

5    older, it's like one bad thing could put you into debt that would completely ruin you. I am lucky,

6    I don't take medicine or anything, so for me the problem was financial.      Even though I bought

7    the lowest tier insurance available, my wife and I still have to pay more in premiums than under

8    my own plan, through the healthcare diversion taken out of my pay. And what I have now is

9    basically a catastrophic plan and covers only a few basic things, and the deductibles are way

10   higher than my old healthcare.

              There are three unit members that I know of who don't have any healthcare policy since

12   our coverage expired last year

13




     I understand that this affidavit is a confidential law enforcement record and should not be
     shown to any person other than my attorney or other person representing me in this
     proceeding.

     I have read this Confidential Witness Affidavit consisting of 3 pages, including this page. I
     fully understand the Affidavit and I state under penalty of perjury that it is true and
     correct.

      Date:                                     Signature:
                                                                               John Clark


     This affidavit w s taken by:


      ANNE E. TEWKSBURY
      Board Agent
      National Labor Relations Board


                                                                             Initials:
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EXHIBIT 6
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                                                                                                                                           Exhibit 6

                                                                                   PG PUBLISHING CO., INC. D/B/A
                                                                                          PITTSBURGH POST-GAZETTE
                                                                                   Case 06-CA-269416

                                                Confidential Witness Affidavit

    I, Donald McConnell, under the penalty of perjury, state as follows:




    I have been given assurances by an agent of the National Labor Relations Board (NLRB)
    that this Confidential Witness Affidavit will be considered a confidential law enforcement
    record by the NLRB and will not be disclosed unless it becomes necessary to produce this
    Confidential Witness Affidavit in connection with a formal proceeding.

    I reside at 131 Queenston Drive, Pittsburgh, PA 1532


    My phone number (including area code) is 412-400-8327

    My e-mail address is typo7president@verizon.net

    I am employed by Pittsburgh Typographical Union, No.7

    Located at 98 Vanadium Road, Suite 4208,Bridgeville, PA 15017


              Pittsburgh Typographical Union, No.7 ("the Local" ) has general membership meetings

2   five times a year—every other month except for the summer. There are only a few members

3   who would attend these meetings. There may have also been unit-specific meetings for the

4   Pittsburgh Post-Gazette ("the Employer" ) that I was not aware of, those would be run by the

5   Chapel Chair.

               There was a unit zoom meeting for a strike vote, around July 2020, about the Employer's

7   unilateral implementation of terms on the Finance unit and the Guild. We felt that we needed to

8   be prepared if that was going to happen to us—it's about a two-week process to get a strike vote,

                                                                  Privacy Act Statement
                                                                                                                                               151 et seq.
    The NLRB is asking you for the information on this form on the authority of the National Labor Relations Act (NLRA), 29 U.S.C. li
                                                                                                                                      related proceedings
    The principal use of the information is to assist the NLRB in processing representation and/or unfair labor practice cases and

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    or litigation. The routine uses for the information are fully set forth in the Federal Register, 71 Fed.
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                                                                                                             Reg. 74942-43 (Dec. 13, 2006). Additional

                                                                                                                     representation case, or may issue you
    you do not provide the information, the NLRB may refuse to continue processing an unfair labor practice or
    a subpoena and seek enforcement of the subpoena in federal court.

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1    and we wanted to be able to go out on a moment's notice if needed. I think almost everyone in

2    the Advertising unit was there — there were around 30 unit members at that time. The vote

3    passed with probably 75-80% support. I will send the Board Agent the vote count, which will

4    show the number.

            Between then and October 2022, around four unit members left the Employer for other

6    jobs. My understanding is that it was salespeople, and were not able to make enough money

7    with the commission plan from the expired contract, which heavily reliant on the print model.

8    Under that plan, he salespeople who worked on commission had to make up around $ 21,000 to

 9   match the salary of the non-commission people, which was just not possible with the reduced

10   print schedule. Also around three people were promoted into management during that time.

            When the unit lost health insurance, October 1, 2022, we had a series of meeting to try to

12   hammer something out with the Employer. After about five days without healthcare, we went

13   out on strike. There were around 21 unit members at that time. 15 went out on strike, and six

14   people chose to cross the picket line immediately. Four of them resigned from the Union the day

15   of the strike—they did not say why. Two of the people who crossed the picket line never

16   resigned— one I haven't heard anything from, the other said that it was financial, he just

17   couldn't afford to lose his paycheck.

            One more returned to work and resigned from the Union around January 2023
                                                                                            — she just
18

19   said she was making the decision that was best for her. Since we went out on strike, four people

20   left the employer, all are working full-time elsewhere.

21           There are now 10 unit members on strike—those people are rock-solid, they'e really

22   committed, they always show up for pickets. But I can tell there is strike fatigue. We don't have




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1   formal meetings anymore because there are so few people, but try to I send them weekly updates

2   and there are two or three people who I talked to almost every day.

           Our strike signs say Unfair Labor Practice Strike Against the Pittsburgh Post-Gazette.




    I understand that this affidavit is a confidential law enforcement record and should not be
    shown to any person other than my attorney or other person representing me in this
    proceeding.

    I have read this Confidential Witness Affidavit consisting of 3 pages, including this page. I
    fully understand the Affidavit and I state under penalty of perjury that it is true and
    correct.
               s/s~7u                       Signature:
                                                                               onald McConnell


    This affidavit   as taken b


    ANNE E. TEWKSBURY
    Board Agent
    National Labor Relations Board




                                                                          Initials:
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EXHIBIT 7
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                                                                                                                                         Exhibit 7

                                                                                  PG Publishing Co., Inc. d/b/a Pittsburgh
                                                                                         Post-Gazette
                                                                                  Case 06-CA-248017

                                                Confidential Witness Affidavit
    I, Zacha         Tanner, under the penalty of perjury, state as follows:



    I have been given assurances by an agent of the National Labor Relations Board (NLRB)
    that this Confidential Witness Affidavit will be considered a confidential law enforcement
    record by the NLRB and will not be disclosed unless it becomes necessary to produce this
    Confidential Witness Affidavit in connection with a formal proceeding.

    I reside at 324 Clover St. Pittsburgh, PA 15210


    My cell phone number (including area code) is 724-761-696

    My e-mail address is zacktanner.7@gmail.corn

    I am employed by PG Publishing Co. d/b/a Pittsburgh Post-Gazette


    located at 358 North Shore Drive, Pittsburgh PA


               I have been the President              of the Newspaper Guild of Pittsburgh a/w CWA Local 38061

2   ("the Union" ) since around June 2022. The unfair labor practices in this case involve CBA

3   negotiations with the Pittsburgh Post-Gazette ("the Employer" ) beginning around February 2017.

4   The Employer bargained in bad faith and, around July 2020, declared impasse and unilaterally

5   imposed part of the terms of its final offer, including a change to our healthcare plan around

6   September 2020. There was one post-impasse bargaining session around September 2020.

7   Because of the imposition of terms and the ULP charges, bargaining did not resume until

8   November 2022. I have been involved in every bargaining session post-impasse. The

9   Employer's conduct at the bargaining table during that time has only gotten worse— when we
                                                                    Privacy Act Statement
    The NLRB is asking you for the information on this form on the authority of the National Labor Relations Act (NLRA), 29 U.S.C. li 1 5 1 et seq.
    The principal use of the information is to assist the NLRB in processing representation and/or unfair labor practice cases and related proceedings

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    or litigation. The routine uses for the information are fully set forth in the Federal Register, 71 Fed. Reg. 74942-43 (Dec. 13, 2006). Additional
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    you do not provide the information, the NLRB may refuse to continue processing an unfair labor practice or representation case, or may issue you
    a subpoena and seek enforcement of the subpoena in federal court.

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 1   came back to the table in November 2022, the Employer's offer was nearly identical to its 2020

2    Final Offer (the only change was the wage scale had been updated to reflect the current wages).

3    There have been around 6-8 bargaining sessions since then, and the Employer has not moved or

4    changed one thing in its proposals. No agreement has been reached by the parties.

            Around July 27, 2020, the Employer announced that they were ceasing dues check-off.

 6   After a few months, the Union was able to get a system set up to collect dues. We gave

7    employees about two or three months sign up for this new dues collection system and get back in

 8   good standing. Around 15 people did not sign back up. No one resigned their Union

 9   membership until after we went on strike.

10          On October 17, 2022, the Union took a strike authorization vote to go out on strike

11   because of the employer's unfair labor practices. We had about seven hours of Union meetings

12   that day—four hours before the vote, and three hours after. About 70 people attended those

13   meetings, and the vote passed 38-36. There were around 95 bargaining unit members at the

14   time—around 15 were not eligible to vote because they had stopped paying dues. Some

15   employees expressed that they opposed a strike because they couldn't afford to lose income and

16   healthcare. Some employees expressed that they felt going on strike was not going to move the

17   Employer. The Union sent a letter to the Employer announcing our intention to strike, which the

18   Employer did not respond to. I have provided a copy of this letter to the Board Agent.

19          That same day, the Employer sent a letter to the bargaining unit members stating that

20   there would be work for them if they wanted to keep working, and they could resign from the

21   Union to avoid the Union fines. The letter gave instructions on how to revoke their Union

22   membership. I have provided a copy of the letter to the Board Agent




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            On October 18, 2022 at noon, the strike commenced. During the first week, around 55

2    bargaining unit members went out. The majority of the 45 bargaining unit employees who kept

3    working sent emails or letters resigning from the Union— I have provided copies to the Board

4    Agent. These letters were sent either to the Union email (which I have access to) or to me

5    personally. I also received some phone calls. Bargaining unit employees communicated to me

 6   that they believed that the Employer was so dug in that fighting / going on strike was not going

7    to make a difference in the long run. I have heard secondhand that management was verbally

 8   encouraging employees to resign their Union memberships. I have provided to the Board Agent

 9   copies of Union communications with membership about the purpose of the strike, a Union press

10   release about the strike, and photos of strike signs.

            As of June 27, 2023, there are 36 bargaining unit employees on strike. Four of the

12   original 55 strikers went back to work for the Employer, and about 15 people left for other

13   employment. Of the strikers who left for other jobs, three reasons were given—(I) can't afford

14   to be on strike anymore, (2) want to get back to work for the sake of their journalism career, and

15   (3) want to leave because of bad experience at the Employer.

16

17           The entire Local meets every quarter and, before the strike, the unit would meet every

18   month or every other month. Pre-covid (i.e. until March 2020) when the Local meetings were in

19   person, almost all of the bargaining unit employees attended. Same deal with the unit meetings,

20   almost everyone attended. When we switched to Zoom meetings around March 2020,

21   attendance was still very high (around 80'/o) until the Employer unilaterally imposed terms in

22   July 2020. In one of those meetings between March and July 2020, over 100 people attended
                                                                                                      —I

23   remember because I had to buy a bigger Zoom package. After the Employer unilaterally




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 1   imposed terms, attendance at the Union meetings began to steadily drop. At the September 2022

 2   Union meeting—the last one before the strike vote—fewer than 40 unit members attended. I will

3    provide the Board Agent with the Union's attendance lists.

            Since we went on strike, the striking employees have daily check-in meetings and the

 5   majority of striking employees attend (around 20-30 people).

            After the start of the strike, the Union also had two or three meetings specifically for

 7   folks who had crossed the picket line and revoked their membership. These meetings were

 8   meant to be an open forum and QXA for the resigned members.

            Around October 25, 2022 we had the first of these meetings. About 15 picket line

10   crossers attended this meeting.   I was there and a couple of committee heads, and we talked


11   about our strike relief fund, CWA's healthcare coverage, and the actions we were planning to put

12   pressure on the Employer to resolve the strike. We gave an open forum to the resigned members

13   to ask questions and discuss the strike. It was similar to strike vote meeting—the resigned

14   members expressed that they couldn't afford to go without healthcare and income, and that they

15   believed the strike was not going to change anything. We possibly had another similar meeting

16   around this time to catch the people who couldn't make it— I don't recall specifically.

17          Two or three weeks later, around mid-November, the Union had another meeting for

18   resigned members where we gave updates on the strike and bargaining. Less than 10 people

19   attended, and there was very little participation or questions so it was a very short meeting—

20   around 40 minutes.

21




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I understand that this affidavit is a confidential law enforcement record and should not be
shown to any person other than my attorney or other person representing me in this
proceeding.

I have read this Confidential Witness Affidavit consisting of 5 pages, including this page. I
fully understand the Affidavit and I state under penalty of perjury that it is true and
correct.

 Date.      6/27/2023                  Signature:
                                                                    Zachary Tanner


This affidav'as taken by:


Anne E. Tewks ury
Board Agent
National Labor Relations Board




                                          -5-                     Initials:
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Exhibits 8–27 omitted, pending the Court’s ruling on Petitioner’s Motion to Redact
